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The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR21-5183RAJ
Plaintiff, STIPULATED ORDER FOR
v. RESTITUTION
JULIE SHIPE,
Defendant.

 

The Court, having found that in conjunction with her acceptance into the District’s
Drug Reentry Alternative Model (“DREAM”) program, Defendant Julie Shipe signed a
plea agreement dated November 16, 2021, in which she agreed to pay restitution in the

amounts identified in the table below:

VICTIM AMOUNT
FB $530.46
KS $2,770.95
MM $1,009.95

MS $860.28

TS $8,024.02

JW $461.00
$13

 

STIPULATED RESTITUTION ORDER UNITED STATES ATTORNEY

United States v. Shipe, CR21-5183RAJ -1 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

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Defendant further agreed that the restitution amounts were due and payable immediately;
and that Defendant will commence payment of restitution pursuant to a schedule
established by the U.S. Probation Office.

IT IS HEREBY ORDERED that Defendant shall make restitution payments to the
identified victims as directed by the U.S. Probation Office during Defendant’s participation
in the DREAM program with any remaining balance due and payable at such time as
Defendant successfully completes the DREAM program or is terminated from such
program. Any unpaid amount is to be paid during Defendant’s participation in the DREAM
program, to the extent of being financially able, in monthly installments as determined and
directed by U.S. Probation. Interest on the restitution shall be waived. All payments shall
be made to the United States District Court for the Western District of Washington, with

the Clerk forwarding money received to the victims as follows:

VICTIM AMOUNT
FB $530.46
KS 770.95
MM $1,009.95

MS $860.28
TS $8,024.02
JW $461.00
TOTAL $13 66

 

Any restitution payments distributed by the Clerk during the pendency of Defendant’s
participation in the DREAM program shall be made on a pro-rata basis.
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STIPULATED RESTITUTION ORDER UNITED STATES ATTORNEY

United States v. Shipe, CR21-5183RAJ -2 700 STEWART STREET, SUITE 5220
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IT IS FURTHER ORDERED that Defendant begin making restitution payments as

outlined above immediately

DATED ( 7H day of November 2021. ; L

The Honorable Richa ep

United States District aap

Western District of Washington

DREAM Judicial Officer
Presented by:

/s/ James D. Oesterle

JAMES D. OESTERLE

AMY JAQUETTE

Assistant United States Attorneys

Agreed as to form:

/s/ Corey Endo
COREY ENDO

Counsel for Defendant

STIPULATED RESTITUTION ORDER UNITED STATES ATTORNEY

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